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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                     CRIMINAL NO. 18-160
 VERSUS                                                       SECTION "J"
 RAYLAINE KNOPE                                               VIOLATION: 18:1594(b),
 TERRY J. KNOPE, II                                           1589(a), 1591(a)(1), 1594(a),
 JODY LAMBERT                                                 42:3631(a) & (b), 18:249(a)(2),
 TAYLOR KNOPE                                                 18:641,18:2

             RE-NOTICE OF JURY TRIAL on JANUARY 11, 2021 AT 8:30 A.M.
                               as to TAYLOR KNOPE ONLY
          PRETRIAL CONFERENCE SET FOR DECEMBER 17, 2020 AT 2:00 P.M.
                            (Jury Trial previously set for 7/15/19)

Take notice that this criminal case has been set for JURY TRIAL on MONDAY, JANUARY 11, 2021

AT 8:30 A.M. before Judge CARL J. BARBIER, Courtroom C-268, 500 Poydras Street, New

Orleans, Louisiana 70130.

IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING.

PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL IMMEDIATELY
OUTSIDE THE AFORESAID COURTROOM FOR EVALUATION AND SEARCH 15 MINUTES
PRIOR TO APPEARANCE.
                                    WILLIAM W. BLEVINS, CLERK
Date: June 13, 2019
                                    by: s/Gail Chauvin
TO:                                     Gail Chauvin, Deputy Clerk

RAYLAINE KNOPE                                     AUSA: Julia K. Evans, T.A.
Counsel for defendant:
Steven Lemoine                                     U.S. Marshal
SteveLem@aol.com
                                                   U.S. Probation Officer
TERRY J. KNOPE, II
Counsel for defendant:                             U.S. Pretrial Services
Michael Riehlmann
mgriehlmann@hotmail.com                            JUDGE

JODY LAMBERT                                       MAGISTRATE
Counsel for defendant:
Ralph Whalen                                       COURT REPORTER COORDINATOR
ralphswhalen@ralphswhalen.com                      INTERPRETER: No

TAYLOR KNOPE                                       Special Agent Corina Zapata
Counsel for defendant:                             Federal Bureau of Investigation
Claude Kelly, FPD
Celia Rhoads, Asst. FPD
claude_kelly@fd.org                                If you change address,
celia_rhoads@fd.org                                notify clerk of court
                                                   by phone, 589-7694
